                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION
                                 File No. 5:20-cv-00377-D

    WILLIAM WILLIAMSON

                           Plaintiff,

                  vs.

    BRIDGESTONE AMERICAS, INC., et al.

                           Defendants.

                                            ORDER OF DISMISSAL

        This matter comes before the court on the Joint Motion to Dismiss (Doc.).

        For the reasons stated in the motion, and for good cause shown,

        IT IS THEREFORE ORDERED that the Joint Motion is GRANTED, and all of Plaintiffs

claims against the Defendant Kelsey-Hayes Company (and ZF Active Safety US Inc.), are hereby

DISMISSED WITHOUT PREJUDICE. 1


So ORDERED. This _3_ day of December, 2021.



                                                   JAMES C. DEVER III
                                                   United States District Court Judge




1
 It should be noted that ZF Active Safety US Inc. answered for Kelsey-Hayes Company while pointing out that
Kelsey-Hayes Company was incorrectly identified. Plaintiff did not amend the complaint and so Kelsey-Hayes
Company remains the named defendant in the Court's system.




         Case 5:20-cv-00377-D Document 158 Filed 12/03/21 Page 1 of 1
